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                   EXHIBIT D
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

 KATHLEEN MOLLER                                    *   CIVIL ACTION NO. 24-0228-WBV-DPC
                                                    *
 VERSUS                                             *   JUDGE WENDY B. VITTER
                                                    *
 MARTIAN SALES, INC; JOPEN, LLC,                    *   MAGISTRATE DONNA PHILLIPS
 a Texas limited liability company;                 *   CURRAULT
 JOHNSON FOODS, LLC, a Wyoming                      *
 limited liability company; LP IND., LLC,           *
 a Wyoming limited liability company;               *
 CAG HOLDINGS, LLC, a Wyoming                       *
 limited liability company; RMH                     *
 HOLDINGS, INC., a Wyoming                          *
 corporation; ABC INSURANCE                         *
 COMPANY and John Does 1-4.                         *
                                                    *
 ***********************************

                    JOPEN, LLC’S RESPONSES AND OBJECTIONS TO
                    PLAINTIFF’S THIRD SET OF INTERROGATORIES

TO:     Plaintiff, Kathleen Moller, by and through her attorneys of record, Nelson W. Wagar, III,
        Sarah Wagar Hickman, Wagar Hickman, LLP, 1401 West Causeway Approach,
        Mandeville, Louisiana 70471 and Michael Cowgill, Tamara J. Spires, mctlaw, 1515
        Ringling Blvd., Suite 700, Sarasota, Florida 34236.

        Defendant JOpen, LLC (“Defendant”), pursuant to the Federal Rules of Civil Procedure,

responds to Plaintiff’s Kathleen Moller’s Third Set of Requests for Interrogatories

(“Interrogatories”), as follows:

                                     GENERAL OBJECTIONS

        1.      Defendant objects to the Interrogatories to the extent that they are vague,

ambiguous, overbroad, unduly burdensome, oppressive, not relevant to the subject matter of this

action, and not reasonably calculated to lead to the discovery of admissible evidence.

        2.      Defendant objects to the Interrogatories to the extent that they are contradicted by,

inconsistent with, or impose on Defendant any obligations in excess of the requirements of the

Federal Rules of Civil Procedure.


DEFENDANT JOPEN, LLC’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S THIRD SET OF INTERROGATORIES      PAGE 1
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        3.      Defendant objects to the Interrogatories to the extent they seek information and

materials protected by the attorney-client privilege, attorney-work product doctrine, and any other

applicable privilege.

        4.      Defendant objects to the Interrogatories to the extent that they seek information or

documents that constitute or contain trade secrets, proprietary information, and/or other

confidential information. Defendant will produce such information pursuant to the Protective

Order entered by the Court in this matter on December 17, 2024 [D.E. 62], and only if such

information is not subject to any other objections.

        5.      Defendant objects to the Interrogatories to the extent that they seek information or

documents that are not in its possession, custody, or control and are equally or more easily

accessible by Plaintiff.

        6.      Defendant objects to the Interrogatories to the extent they seek information or

documents outside the scope of the time, place, subject matter, and circumstances of the

occurrences mentioned or complained of in the Second Amended Complaint, dated February 6,

2024 (the “Complaint”). Paragraphs 14 and 17 of the Complaint allege that injuries were suffered

on February 6, 2023, allegedly after consumption of an unspecified kratom product. Accordingly,

actions or activities by Defendant after February 6, 2023—as well as issues, documents, or

communications in connection with activities other than the production and/or distribution of the

kratom product Plaintiff allegedly consumed—do not give rise to Plaintiff’s cause of action.

Defendant will respond to the Interrogatories for the following dates: January 1, 2020, through

February 6, 2023.




DEFENDANT JOPEN, LLC’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S THIRD SET OF INTERROGATORIES      PAGE 2
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        7.      Defendant does not concede that any of the responses are or will be admissible

evidence at trial. Further, Defendant does not waive any objection, whether or not asserted herein,

to use any such answer at trial.

        8.      These Responses and Objections have been prepared pursuant to a reasonably and

duly diligent investigation and search for the necessary information.

                              SPECIFIC OBJECTIONS TO DEFINITIONS

        1.      Defendant objects to the definition of “identify” to the extent that it contradicts, is

inconsistent with, or imposes on Defendant any obligations in excess of the requirements of the

Federal Rules of Civil Procedure.

                                 SPECIFIC RESPONSES TO
                             THIRD SET OF INTERROGATORIES

INTERROGATORY NO. 1:

Please describe the organizational structure of JOPEN, LLC including identification of all
affiliates, subsidiaries, or parent companies of JOPEN, LLC from formation to present.

RESPONSE: Defendant objects to this Interrogatory to the extent it is duplicative of Interrogatory

No. 9 in Plaintiff’s First Set of Interrogatories. Defendant further objects to this Interrogatory on

the grounds that it is overbroad and unduly burdensome because it seeks information regarding

Defendant’s organizational structure, including “identification of all affiliates, subsidiaries, or

parent companies of [Defendant]” which is not reasonably tailored to the claims and defenses in

this proceeding, which only concern events which allegedly occurred in Louisiana in February

2023.

        Subject to the foregoing objections, Defendant states that it is owned by JDA1, LLC. A1

Wholesale and Party Nuts are d/b/a’s for Defendant.




DEFENDANT JOPEN, LLC’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S THIRD SET OF INTERROGATORIES      PAGE 3
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INTERROGATORY NO. 2:

For all entities, affiliates, subsidiaries or parent companies identified in response to Interrogatory
number one (1), please identify the owners and ownership percentages thereof from formation to
present.

RESPONSE: Defendant objects to this Request on the grounds that it is overbroad and unduly

burdensome because it seeks information regarding the owners and ownership percentages of

Defendant’s affiliates, subsidiaries, or parent companies from “formation to present,” which is not

reasonably tailored to the claims and defenses in this proceeding, which only concern events which

allegedly occurred in Louisiana in February 2023.

        Subject to the foregoing objections, Defendant states that JDA1, LLC is owned by JDA1

678 Trust (99.9%) and David Gabbay (0.01%).

INTERROGATORY NO. 3:

Please identify the owners of JOPEN, LLC from formation to present, and the ownership
percentages of each owner for their respective periods of ownership.

RESPONSE: Defendant objects to this Request on the grounds that it is overbroad and unduly

burdensome because it seeks information regarding Defendant’s owners and ownership

percentages from “formation to present,” which is not reasonably tailored to the claims and

defenses in this proceeding, which only concern events which allegedly occurred in Louisiana in

February 2023.

        Subject to the foregoing objections, Defendant states that JDA1, LLC is the sole owner of

Defendant.



DATED: January 16, 2025

                                                 Respectfully submitted,




DEFENDANT JOPEN, LLC’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S THIRD SET OF INTERROGATORIES      PAGE 4
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                                                     By /s/ Gwendolyn C. Payton
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DEFENDANT JOPEN, LLC’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S THIRD SET OF INTERROGATORIES      PAGE 5
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                                   CERTIFICATE OF SERVICE

        This is to certify that on January 16, 2025, a copy of the foregoing document was served

on all counsel of record by electronic mail.



                                                     /s/ Gwendolyn C. Payton
                                                     Gwendolyn C. Payton




DEFENDANT JOPEN, LLC’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S THIRD SET OF INTERROGATORIES      PAGE 6
